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                       IN THE lmITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA


UNITED STATES OF AMERICA,
                                                      NO. 1:08-cr-00030-JEG-RAW
                 Plaintiff,

      vs.

CERISA IRA DAWN HALL,

                 Defendant.


REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY
                 (PLEA AGREEMENT)

                 The United States of America and the defendant, having

both filed a written consent to conduct of the plea proceedings by

a magistrate judge, appeared before me pursuant to Fed. R. Crim.

P.    11 and LCrR 11.1. The defendant entered a plea of guilty to

Count 3 of the Indictment charging her with Maintaining a Drug

House,      in violation of Title 21 U.S.C.                  §    856. After advising and

questioning          the    defendant     under       oath       concerning   each    of   the

subjects addressed in Rule 11(b) (1), I determined that the guilty

plea was in its entirety voluntarily, knowingly and intelligently

made and did not result from force,                     threats,        or promises    (other

than promises in the plea agreement).                        I    further determined that

there       is   a   factual   basis      for   the    guilty plea on each of              the

essential elements of the offense(s) in question.                          A plea agreement

was    disclosed       at    the   plea    proceeding            and   defendant   stated he

understood its terms and agreed to be bound by them.                          To the extent
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the plea agreement is of the type specified in Rule 11 (c) (1) (A) or

(C) defendant was advised the sentencing judge may elect to defer

acceptance of the plea agreement until after the sentencing judge

has    reviewed       the   presentence     report     as    permitted     by

Rule 11 (c) (3) (A)    To the extent the plea agreement is of the type

specified in Rule 11(c) (1) (B) defendant was advised by the Court

that defendant has no right to withdraw the plea if the Court does

not follow a recommendation or request in question.

            I   recommend that the plea(s)       of guilty be accepted and

that the defendant be adj udged guilty and have sentence imposed

accordingly.      A presentence report has been ordered and a status

conference scheduled.



                                          CELESTE F. BREMER
                                          UNITED STATES MAGISTRATE JUDGE



                                          March 2, 2009

                                          DATE


                                  NOTICE

          Failure to file written objections to this Report and
Recommendation within ten (10) days from the date of its service
shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge.
28 U.S.C. § 636(b) (1) (B). The Report and Recommendation was served
this date by delivery of a copy thereof to counsel for the
government and defendant in open court.




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